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                                         12   COLLEGE DISTRICT
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                                                                       UNITED STATES DISTRICT COURT
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                                                                     CENTRAL DISTRICT OF CALIFORNIA
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                                              ROY PAYAN, et al.,                             Case No.: 2:17-cv-01697 SVW(SKx)
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                                                                     Plaintiffs,             MEMORANDUM OF POINTS AND
                                         17                                                  AUTHORITIES RE: INJUNCTIVE
                                                       v.                                    RELIEF IN PREPARATION FOR
                                         18                                                  AUGUST 10, 2023 HEARING
                                              LOS ANGELES COMMUNITY
                                         19   COLLEGE DISTRICT,                              Hearing:    August 10, 2023
                                                                                             Time:       1:30 p.m.
                                         20                          Defendant.
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                                          1            TO THE COURT, THE PARTIES, AND THEIR ATTORNEYS OF
                                          2   RECORD:
                                          3            Defendant the Los Angeles Community College District (“the District”)
                                          4   submits this Memorandum of Points and Authorities in preparation for the August
                                          5   10, 2023 hearing on injunctive relief in this matter. This short Memorandum first
                                          6   introduces some of the evidence specifically requested by this Court at the last
                                          7   hearing, on July 24, 2023, and then sets forth further points for this Court’s
                                          8   consideration in formulating injunctive relief.
                                          9            The District has continued before and after this lawsuit began in 2017 to
                                         10   strive to improve how sight-impaired students access educational resources at the
                                         11   District colleges, including the college Plaintiffs attended, Los Angeles City
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                                         12   College (“LACC”). This has included not only spending millions of dollars to
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                                         13   obtain resources with state-of-the-art accessibility, but also devoting enormous
                                         14   amounts of administrative time, including participation of individuals hired
                                         15   specifically to address accessibility issues for disabled students including the sight-
                                         16   impaired. Changes made after the time period at issue in this case, 2015-2018,
                                         17   include among other things creating a new website platform for the District and its
                                         18   nine colleges with specific requirements for accessibility, upgrading for sight-
                                         19   impaired students the accessibility of the top-of-the-market PeopleSoft system in
                                         20   partnership with its manufacturer Oracle, introducing and implementing the
                                         21   program of applying Equally Effective Alternative Access Plans (“EEAAPs”) for
                                         22   purchase of electronic educational resources, and entirely changing the system of
                                         23   how accommodation information (previously accommodation letters) are
                                         24   communicated to students and faculty.
                                         25            For this case, the District’s ongoing efforts and the passage of time have
                                         26   made injunctive relief unavailable. In fact, injunctive relief would be counter-
                                         27   productive, and would be wholly improper if it required the District to tear down
                                         28   and overhaul new systems that no jury has found fail to comply with the Title II of
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                                          1   the Americans with Disabilities Act (“ADA”). Indeed, the District has shown the
                                          2   new resources are accessible to blind students and comply with Title II standards.
                                          3   Moreover, the District’s diligence in improving the accessibility of its educational
                                          4   resources for the sight-impaired should count in its favor in determining injunctive
                                          5   relief; the District should not be penalized for refusing to sit idle while this lawsuit
                                          6   is pending and instead making significant efforts to improve accessibility.
                                          7            One could reflect that the passage of time is no one’s fault, so that it is no
                                          8   one’s fault that Plaintiffs now in 2023 lack an injunctive relief remedy. But it is, in
                                          9   fact, Plaintiffs’ counsel’s overly aggressive litigation tactics and over-the-top
                                         10   demands that delayed the case’s resolution so many years. For example, in the
                                         11   summer of 2019, after the jury returned its verdict, Plaintiffs requested an
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                                         12   extraordinarily overbroad 20-page injunction that applied to every one of the
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                                         13   District’s nine colleges among other things, even though the liability findings
                                         14   applied only to LACC. (See, [Proposed] Permanent Injunction and Final Judgment
                                         15   filed July 1, 2019 [Docket No. 325-4], at 4-19.) This Court rejected Plaintiffs’
                                         16   counsel’s request, and instead on July 22, 2019 issued a narrower injunction of
                                         17   some 4 pages that applied for the most part only to LACC, which the Plaintiffs had
                                         18   attended. (See, Permanent Injunction and Final Judgment filed July 22, 2019
                                         19   [Docket No. 330] at 2-4.) The Ninth Circuit found this injunction “overly board”
                                         20   and ultimately vacated it. Payan v. Los Angeles Community College Dist., 2021
                                         21   WL 3743307 *3 (9th Cir. 2021) (un-published portion of decision). Yet almost two
                                         22   years after that decision, Plaintiffs’ counsel has now requested an injunction that is
                                         23   in many respects broader than the one issued in 2019 that the Ninth Circuit
                                         24   disapproved. For example, Plaintiffs’ Proposed Injunction again applies to all nine
                                         25   colleges in most places (see, [Proposed] Permanent Injunction and Final Judgment,
                                         26   filed July 17, 2023 [Docket No. 585-5], ¶¶ , 8, 9, 10, 13, 16.) If adopted, it would
                                         27   result in yet another costly appeal, and passage of even more time. Plaintiffs’
                                         28   counsel has no one else to blame for their injunctive relief demands being moot.
                                                                                        6
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                                          1   See Oliver v. Ralphs Grocery Co., 654 F.3d 903, 905 (9th Cir. 2011) (“[A]
                                          2   defendant’s voluntary removal of alleged barriers prior to trial can have the effect
                                          3   of mooting a plaintiff’s ADA claim.”).
                                          4            Moreover, this Court questioned at the last hearing, on July 24, 2023,
                                          5   whether Plaintiffs’ counsel knew of the costly changes the District was making to
                                          6   its systems in the years between the 2019 judgment and the 2023 trial, and
                                          7   Plaintiffs’ counsel in fact did know. For example, as explained below, the District
                                          8   even provided them in the winter of 2019-2020, information that the District was
                                          9   replacing its websites entirely and that Sensis was the vendor creating the new
                                         10   websites. As detailed below, that has not stopped Plaintiffs’ counsel from
                                         11   suggesting only now that the District should simply tear down/overhaul those
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                                         12   systems on the word of Plaintiffs’ experts and their minimal testing done the first
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                                         13   time in summer of 2023.1 Plaintiffs’ counsel’s wait-and-pounce tactics serve as yet
                                         14   another reason this Court, sitting in equity, should deny injunctive relief. Klein v.
                                         15   City of San Clemente, 584 F.3d 1196, 1207 (9th Cir. 2009) (to obtain a permanent
                                         16   injunction, a plaintiff must demonstrate they are “likely to suffer irreparable injury
                                         17   in the absence of a [permanent] injunction, and that the balance of equities and the
                                         18   public interest tip in [their] favor.”) (emphasis added).
                                         19            The District reserves the right to provide more detailed briefing at the
                                         20   appropriate time, as necessary, and has no intent to waive arguments not made
                                         21   1
                                                At the July 24, 2023 hearing on injunctive relief, when the issue of changes in
                                              resources was discussed, Plaintiffs’ counsel outrageously claimed that “generally,
                                         22   there has been no disclosure of these changes until we received the Declarations”
                                              on July 6, 2023, and “[t]his is the first time we’re hearing the details of these
                                         23   changes.” (Reporter’s Transcript of Proceedings on July 24, 2023 (Docket No.
                                              597), page 67, lines 13-20.) As described below, Plaintiffs’ counsel had in fact
                                         24   received over three years ago in March 2020 the declarations of Vice Chancellor
                                              and Chief Information Officer Carmen Lidz and then-Vice Chancellor of
                                         25   Educational Programs and Institutional Effectiveness Ryan Cornner detailing
                                              changes including the specifics of the website re-design project. In addition, in the
                                         26   winter of 2019-2020, as part of discussions on whether to stipulate to stay the
                                              injunction pending the appeal, the District’s counsel notified Plaintiffs’ counsel of
                                         27   the Sensis project to build new websites compliant with WCAG standards, even e-
                                              mailing to Plaintiffs’ counsel a Request for Proposal and Statement of Work for the
                                         28   project.
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                                          1   herein by providing this short brief at this time.
                                          2   I.       PLAINTIFFS’ COUNSEL’S ONGOING AWARENESS OF THE
                                          3            CHANGES IN STUDENT RESOURCES AND PROCESSES
                                          4            FURTHER CONFIRMS INJUNCTIVE RELIEF IS UNWARRANTED.
                                          5            The District’s prior briefing and evidence confirmed that this Court should
                                          6   not issue the injunctive relief requested by Plaintiffs, among other reasons because
                                          7   resources at issue have changed since the 2015-2018 time period of the lawsuit, so
                                          8   that prospective relief clams based on prior violations are moot. See Outdoor
                                          9   Media Group, Inc. v. City of Beaumont, 506 F.3d 895, 901 (9th Cir. 2007) (claims
                                         10   for declaratory and injunctive relief were mooted by repeal of the challenged
                                         11   ordinance). The District’s prior briefing and evidence confirmed that injunctive
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                                         12   relief is also unwarranted, because findings of liability rested on one-time
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                                         13   occurrences not likely to recur. See Hodgers-Durgin v. De La Vina, 199 F.3d 1037,
                                         14   1042 (9th Cir. 1999) (to obtain injunctive relief, plaintiff must show that they face a
                                         15   real or immediate threat of substantial or irreparable injury); Midgett v. Tri-County
                                         16   Metro. Transp. Dist., 254 F.3d 846, 850 (9th 2001) (federal courts should not
                                         17   “interfere[e] with non-federal government operations in the absence of facts
                                         18   showing an immediate threat of substantial injury.”).
                                         19            Discussion at the July 24, 2023 hearing confirmed that yet another reason
                                         20   exists why this Court should issue no injunctive relief – for years, Plaintiffs and
                                         21   their counsel had full awareness of monumental changes the District was making to
                                         22   its websites, processes, and other resources at issue, including implementing
                                         23   safeguards to make the resources accessible to blind students. Plaintiffs’ counsel
                                         24   had this awareness because the District and its counsel told them in early 2020,
                                         25   even before the pandemic.
                                         26            The District disclosed its website redesign project to Plaintiffs in early 2020
                                         27   in connection with a motion to stay the injunction pending appeal. Vice Chancellor
                                         28   and Chief Information Officer Carmen Lidz in a supporting declaration explained at
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                                          1   that time: “The District is the process of a comprehensive website redesign project
                                          2   that will unify the LACCD, Los Angeles City College, East Los Angeles College,
                                          3   West Los Angeles College, Los Angeles Southwest College, Los Angeles Harbor
                                          4   College, Los Angeles Valley College, Los Angeles Mission College, Pierce
                                          5   College, and Los Angeles Trade-Tech College websites onto a single platform that
                                          6   supports WCAG 2.1 AA Level standards.” (Declaration of Carmen Lidz filed
                                          7   March 6, 2020 [Docket No. 388-6] (“Lidz Decl.”), ¶ 7.) She also referenced the
                                          8   Monsido tool the District planned to implement for quality assurance to confirm
                                          9   accessibility: “As part of the website redesign project, the District is introducing a
                                         10   quality assurance tool to ensure monitoring of websites on a regular basis and take
                                         11   corrective action as needed. The quality assurance tool will identify errors based on
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                                         12   guidelines that address visual, hearing, and physical abilities based on WCAG 2.1
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                                         13   standards. This will produce weekly, monthly, and on-demand reports that
                                         14   highlight errors and show compliance progress.” (Id.) Then-Vice Chancellor of
                                         15   Educational Programs and Institutional Effectiveness Ryan Cornner also filed a
                                         16   declaration in support of the motion to stay that described the website re-design
                                         17   project further: the website re-design project “will consolidate the District website
                                         18   with the websites of each college so they are all on the same information platform.
                                         19   In doing so, each website will be completely re-built from the ground up.”
                                         20   (Declaration of Ryan Cornner filed March 6, 2020 [Docket No. 388-5] (“Cornner
                                         21   Decl.”), ¶ 3.) He described that the District had engaged Sensis to conduct the
                                         22   work. (Id., ¶ 4.)
                                         23            In addition, before this, as part of discussions on whether to stipulate to stay
                                         24   the injunction pending the appeal, the District’s counsel in December 2019 notified
                                         25   Plaintiffs’ counsel of the project to build new websites compliant with WCAG
                                         26   standards. (Declaration of David A. Urban filed herewith, ¶ 3.) The District’s
                                         27   counsel even e-mailed a proposed Request for Proposal and Scope of Work
                                         28   document for the project. (Id.) Also, years later in March 23, 2023, during
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                                           1   proceedings in this Court prior to re-trial, the District’s counsel Bruce Cleeland
                                           2   confirmed to Plaintiffs’ counsel that the software at issue in the 2019 trial was no
                                           3   longer being utilized by LACC. (Declaration of Bruce Cleeland, filed herewith, ¶¶
                                           4   3-4.)
                                           5            Vice President’s Lidz’s declaration filed in March 2020 also explained
                                           6   accessibility upgrades being done to PeopleSoft. She explained: “In the past
                                           7   several months, the District has taken steps to improve the accessibility of its
                                           8   PeopleSoft program. We have implemented certain vendor-recommended
                                           9   configurations to enable accessibility layout features. Our testing confirms that
                                          10   blind students using text-to-speech software like JAWS are able to navigate
                                          11   LACCD’s PeopleSoft Student Information System.” (Lidz Decl., ¶ 4.) She
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                                          12   attached the VPAT provided by PeopleSoft at that time, which confirmed
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                                          13   compliance to WCAG 2.0, which she explained was the market standard for
                                          14   accessibility. (Id., ¶¶ 3, 6.) Ryan Cornner, in his declaration, describes the
                                          15   background of PeopleSoft – it took 8 years to install and implement, 3 years to test,
                                          16   and select the software, and 5 years to build and implement the customized
                                          17   interface. (Cornner, Decl., ¶ 6.) The customized interface developed with Oracle
                                          18   cost approximately $15 million. (Id.) As of March 2020, the District had spent an
                                          19   additional approximately $1 million to update PeopleSoft from version 9.0 to 9.2 to
                                          20   improve accessibility as well as usability for all users. (Id.)
                                          21            As to the Etudes learning management system, Vice President Lidz’s
                                          22   declaration at that time signaled it was discontinued by explaining that the Canvas
                                          23   system was being used comprehensively. She described: “The District uses
                                          24   Canvas, a learning management system (“LMS”), for all of its online courses.”
                                          25   (Lidz Decl., ¶ 11.) This ongoing awareness of the changes to District systems, over
                                          26   many years, without any significant effort by Plaintiffs to intervene, demonstrates
                                          27   that the equities do not favor injunctive relief. See Klein, 584 F.3d at 1207 (a
                                          28   permanent injunction requires a demonstration that plaintiff is “likely to suffer
                                                                                      10
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                                           1   irreparable injury in the absence of a [permanent] injunction, and that the balance
                                           2   of equities and the public interest tip in [their] favor.”) (emphasis added).
                                           3   II.      VPAT FORMS FROM THIRD PARTY VENDORS CONFIRM THE
                                           4            ACCESSIBILITY OF SOFTWARE PROGRAMS AND ELECTRONIC
                                           5            RESOURCES THAT THE DISTRICT PURCHASES
                                           6            At the July 24, 2023 hearing, this Court asked for additional information
                                           7   regarding Voluntary Product Accessibility Templates (or "VPATs"). These are
                                           8   documents utilized by vendors or product developers to report accessibility
                                           9   conformance to Section 508 of the Rehabilitation Act (29 U.S.C. §794d). The
                                          10   Information Technology Industry Council (ITI), a global advocacy and policy
                                          11   organization that promotes public policies and industry standards for technology,
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                                          12   prepared a report in July of 2019 which was later updated in May of 2022 that
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                                          13   discusses the importance and use of VPATs. In light of the growing demand for
                                          14   accessible technology, end users have reportedly encountered difficulty in finding a
                                          15   reliable and standard source of information from vendors or product developers for
                                          16   purposes of evaluating accessibility. As explained in “Reporting Conformance to
                                          17   ICT Accessibility Standards,” several factors and considerations must be made
                                          18   before an end user can accurately assess conformance with Section 508.
                                          19   (https://www.itic.org/documents/accessibility/ReportingConformancetoICTAccessi
                                          20   bilityStandards-July2019-updatedMay2022.pdf (last checked August 9, 2023.) The
                                          21   VPAT, however, has been widely known to address all of the concerns and issues
                                          22   identified by the ITI when evaluating accessibility.
                                          23            The VPAT was developed jointly by the ITI and the U.S. General Services
                                          24   Administration (GSA) which provides technical assistance to federal agencies who
                                          25   seek to comply with Section 508 requirements. While it is a “template,” it contains
                                          26   fields/tables that allow a vendor/product developer to accurately explain how their
                                          27   particular product conforms to Section 508 standards for IT accessibility at three
                                          28   different levels of conformance. (See Supplemental Declaration of Nicole Albo-
                                                                                       11
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                                           1   Lopez filed concurrently herewith, Exhibit A-E (containing VPAT and similar
                                           2   forms for particular mathematics software programs).) The instructions for
                                           3   completing a VPAT discuss essential requirements and best practices for any
                                           4   vendor/product developer who prepares a VPAT, including essential requirements
                                           5   for authors.
                                           6            By requiring its vendors/product developers to provide a VPAT, the District
                                           7   is ensuring at the outset that the vendor/product developer has performed the
                                           8   rigorous process of evaluating their product at an in-depth level and pursuant to the
                                           9   accessibility requirements of Section 508. Of course, while there is no particular
                                          10   requirement as to who may prepare a VPAT, the District does not in a blanket
                                          11   manner accept all products that are accompanied by a VPAT. The VPATs merely
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                                          12   constitute the first line of defense for purposes of evaluating accessibility because
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                                          13   they allow the District to understand a product's level of accessibility compliance,
                                          14   compare compliance across similar products by using the standardized template,
                                          15   and choose a product that best meets the goals/standards of the District, as well as
                                          16   plan for areas where a product may be lacking in terms of accessibility. As
                                          17   explained by the testimony of Ms. Albo-Lopez, when a VPAT has a deficiency, an
                                          18   Equally Effective Alternative Access Plan or “EEAAP” is created to ensure
                                          19   accessibility requirements are met, in accordance with the requirements of Title II
                                          20   of the ADA, in the event non-compliant areas are identified in a VPAT.
                                          21   (Reporter’s Transcript of Proceedings on July 24, 2023 (Docket No. 597), page 20,
                                          22   lines 10-20.) Additionally, when a VPAT is prepared by a recognized third party
                                          23   consultant as opposed to the vendor/product developer itself, the District can more
                                          24   confidently rely upon the vendor/product developer’s contractual representations
                                          25   that the particular product has been evaluated by an accessibility expert and meets
                                          26   Government Code sections 7405 and 11135. Accessibility Conformance Reports
                                          27   (“ACR’s”) are also used by vendors and are the functional equivalent of a VPAT’s.
                                          28   Included with this filing is the Declaration of Nicole Albo-Lopez, which includes
                                                                                          12
                                          30                                   Memo of Points and Authorities re Injunctive Relief
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                                           1   VPAT and ACR forms for math programs referenced in her declaration. Also
                                           2   included is the current ACR to the LACC website.
                                           3   III.     LEGAL PRINCIPLES GOVERNING INJUNCTIVE RELIEF
                                           4            COMBINE TO CONFIRM THAT THIS COURT SHOULD NOT
                                           5            ISSUE AN INJUNCTION, OR SHOULD ISSUE ONLY A VERY A
                                           6            LIMITED ONE
                                           7            In its Memorandum of Points and Authorities filed before the July 24, 2023
                                           8   hearing in this matter, the District described numerous separate and distinct reasons
                                           9   this Court should deny any injunctive relief or order only very limited relief. (See,
                                          10   Memorandum of Points Authorities in Support of Declarations filed July 6, 2023
                                          11   Pursuant to Court Order, filed July 21, 2023 [Docket No. 589], at 2-9.) The
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                                          12   following are additional points for this Court’s consideration, some of which arise
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                                          13   from testimony and argument at the July 24, 2023 hearing.
                                          14            First, the injunctive relief that Plaintiffs demand would frustrate the
                                          15   reasonable accommodation process required by Title II of the ADA. For example,
                                          16   numerous parts of Plaintiffs’ Proposed Inunction submitted to this Court require
                                          17   accessibility for resources “prior to or at the same time as sighted students are
                                          18   provided access,” which is not required by Title II of the ADA, nor part of the jury
                                          19   instructions or special verdict form in this matter as a basis for establishing liability.
                                          20   (See [Proposed] Permanent Injunction and Final Judgment filed July 17, 2023
                                          21   [Docket No. 585-5] (“Proposed Injunction”), ¶¶ 2, 3, 5.) Such a requirement would
                                          22   operate contrary to Title II’s required reasonable accommodation process, because
                                          23   this definition of timeliness is incompatible with the ADA’s requirement that public
                                          24   colleges first obtain information from students to determine reasonable
                                          25   accommodations. See 28 C.F.R. § 35.160(b)(2). This requires disabled individuals
                                          26   to communicate their preferences and specific needs, and there may be delays not
                                          27   attributable to the government agency. Under the “prior to or same time” standard
                                          28   requested by Plaintiffs in the Proposed Injunction, the District/College will often
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                                           1   face the impossible choice of violating the ADA by providing accommodations
                                           2   without knowing the student’s needs or preferences, and violating the injunction’s
                                           3   “prior to or same time” requirement by providing accommodations after the
                                           4   interactive process, and after sighted students already have access to resources. See
                                           5   Wong v. Regents of University of California, 192 F.3d 807, 818 (9th Cir. 1999)
                                           6   (colleges and universities “have a duty to gather sufficient information from the
                                           7   disabled individual and qualified experts as needed to determine what
                                           8   accommodations are necessary.”); Tsombanidis v. W. Haven Fire Dep't, 352 F.3d
                                           9   565, 579 (2d Cir. 2003) (“A governmental entity must know what a plaintiff seeks
                                          10   prior to incurring liability for failing to affirmatively grant a reasonable
                                          11   accommodation.”), superseded by statute on other grounds, as described in Mhany
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                                          12   Mgmt., Inc. v. City of Nassau, 819 F.3d 581 (2d Cir. 2016).
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                                          13            Second, it is clear any provision requiring yet another overhaul of College
                                          14   and District websites, PeopleSoft, or other educational programs would constitute
                                          15   an undue burden or fundamental alteration not required by Title II of the ADA.
                                          16   See K.M. ex rel. Bright v. Tustin Unified Sch. Dist., 725 F.3d 1088, 1097 (9th Cir.
                                          17   2013); 28 C.F.R. §§ 35.130(b)(7) and 36.164; see also Alexander v. Choate, 469
                                          18   U.S. 287, 300-01 (1985) (“Reasonable accommodation does not require an
                                          19   organization to make fundamental or substantial alterations to its programs.”).
                                          20   PeopleSoft took 8 years to install and implement, 3 years to test, and select the
                                          21   software, and 5 years to build and implement the customized interface. (Cornner,
                                          22   Decl., ¶ 6.) The customized interface developed with Oracle cost approximately
                                          23   $15 million, and as of March 2020, the District had spent an additional
                                          24   approximately $1 million to update PeopleSoft to improve accessibility as well as
                                          25   usability for all users. (Id.) The website re-design project has been many years in
                                          26   the making and had as its goal compliance with the high WGAC 2.1 AA standard
                                          27   (Lidz Decl., ¶¶ 7-10; Cornner Decl., ¶¶ 3-5), when the industry-wide and
                                          28   Government Code standard is only WCAG 2.0. See Cal. Gov. Code § 11546.7(a).
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                                           1   At a minimum, as the District’s prior briefing pointed out, the injunctive relief
                                           2   should include a provision on requirements that turn out to be a fundamental
                                           3   alteration or undue burden.2
                                           4   IV.      IMMUNITY UNDER 47 U.S.C. SECTION 230 BARS INJUNCTIVE
                                           5            RELIEF THAT PLAINTIFF DEMANDS
                                           6            Plaintiffs’ demand for injunctive relief as to the District and LACC websites
                                           7   and other educational software also infringes the District’s protections under
                                           8   Section 230 of the Communications Decency Act, 47 U.S.C. § 230(c)(1). Section
                                           9   230 immunizes providers of interactive computer services against liability arising
                                          10   from the content created by third parties: “No provider or user of an interactive
                                          11   computer service shall be treated as the publisher or speaker of any information
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                                          12   provided by another information content provider.” 47 U.S.C. § 230(c)(1). The
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                                          13   CDA defines an interactive computer service (“ICS”) as “any information service,
                                          14   system, or access software provider that provides or enables computer access by
                                          15   multiple users to a computer server, including . . . such systems operated or
                                          16   services offered by libraries or educational institutions.” 47 U.S.C. § 230(f)(2)
                                          17   (emphasis added). “Lawsuits seeking to hold a service provider liable for its
                                          18   exercise of a publisher's traditional editorial functions – such as deciding whether to
                                          19   publish, withdraw, postpone or alter content – are barred.” See Jane Doe No. 1. v.
                                          20   Backpage.com, LLC, 817 F.3d 12, 18 (1st Cir. 2016) (quoting Zeran v. Am. Online,
                                          21   Inc., 129 F.3d 327, 330 (4th Cir. 1997)).
                                          22            Section 230 affords immunity to providers of interactive computer services in
                                          23   discrimination causes of action, including claims under the ADA. Nat’l Ass’n of the
                                          24   2
                                                 The Proposed Injunction already references this standard as a procedural matter in
                                          25   paragraph 19, but the injunction from July 2019 included this important and
                                               standard safeguard by stating: “In all cases, for each of the requirements imposed
                                          26   above, LACCD shall not be required to take any particular action if doing so
                                               amounts to an undue financial or administrative burden or would result in the
                                          27   fundamental alteration in a program, service, or activity at LACC consistent with
                                               28 C.F.R. §§ 35.130(b)(7) and 36.164.” (Permanent Injunction and Final Judgment
                                          28   entered July 22, 2019 (Docket No. 330), at 5, ¶ 6.)
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                                           1   Deaf v. Harvard Univ., 377 F. Supp. 3d 49, 66-69 (D. Mass. 2019) (immunity from
                                           2   the ADA); Nat'l Ass'n of the Deaf v. Massachusetts Inst. of Tech., No. 3:15-CV-
                                           3   30024-KAR, 2019 WL 1409301 at *1 (D. Mass. 2019) (applying same ruling); see
                                           4   also Sikhs for Justice, Inc. v. Facebook, Inc., 697 Fed. Appx. 526, 526 (9th Cir.
                                           5   2017) (immunity from Title II of the Civil Rights Act). Indeed, whether Section
                                           6   230 protection applies “does not depend on the form of the asserted cause of action;
                                           7   rather, it depends on whether the cause of action necessarily requires that the
                                           8   defendant be treated as the publisher or speaker of content provided by another.”
                                           9   Harvard Univ., 377 F. Supp. at 67 (quoting Backpage, 817 F.3d at 19).
                                          10            Here, Plaintiffs, in arguing for injunctive relief, claim that third parties post
                                          11   material on District and LACC website-resources that is inaccessible. (Plaintiffs’
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                                          12   Response to Defendant’s Declarations [Dck. No. 585], p. 8; Bossley Decl. [Dkt.
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                                          13   No. 585-1], ¶ 21; Gunderson Decl. [Dkt No. 585-4], ¶ 9.) They have also suggested
                                          14   that the Canvas learning management program is inaccessible to the extent that
                                          15   faculty and others may post content that is inaccessible, even if Canvas meets
                                          16   WCAG 2.1 AA standards. (Plaintiffs’ Response to Defendant’s Declarations [Dck.
                                          17   No. 585], p. 8; Bossley Decl. [Dkt. No. 585-1], ¶ 21.) Plaintiffs’ counsel confirmed
                                          18   that they were asserting this argument by relying on it in their line of questioning at
                                          19   the July 24, 2023 hearing. (July 24, 2023 Hearing Transcript (Docket No. 597), pp
                                          20   31:15-33:21.) In other words, Plaintiffs are treating the District and LACC as the
                                          21   “publisher[s] or speaker[s] of content provided by another.” Harvard Univ., 377 F.
                                          22   Supp. at 67. However, these claims are explicitly barred under Section 230. The
                                          23   Harvard and MIT cases provide that Section 230 immunity applies to ADA claims
                                          24   against educational institutions and their learning management systems. It is
                                          25   undisputed that District and LACC are providers of learning platforms, like Canvas,
                                          26   in which third parties post content. Accordingly, Section 230 bars Plaintiffs’ claims
                                          27   to the extent they seek relief for inaccessible content posted by third parties. See id.
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                                           1   V.       CONCLUSION
                                           2            The District respectfully requests that this Court award no injunctive relief,
                                           3   but that if it must, this Court order only specifically tailored injunctive relief
                                           4   consistent with the facts, principles, and standards set forth above and in the
                                           5   District’s prior submissions to this Court.
                                           6
                                               Dated: August 9, 2023                             LIEBERT CASSIDY WHITMORE
                                           7
                                           8
                                           9
                                                                                         By: /s/ David A. Urban
                                          10                                                      Mark H. Meyerhoff
                                                                                                  David A. Urban
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